                   Case 4:11-cr-00209-JM                     Document 1067             Filed 02/16/16          Page 1 of 3
A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1
                                                                                                                              FILED
                                                                                                                             US DISTRICT COURT
                                                                                                                     so5rspt>1 015rg1cr ARKANSAS




                                      UNITED STATES DISTRICT COURT                                                                16 2016
                                                    EASTERN DISTRICT OF ARKANSA:
                                                                                                              JAME'.
                                                                                                              By:_.                         DEP CLERK
         UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                              v.                                          (For Revocation of Probation or Supervised Release)
         GALVIN JAVASCO HENDERSON

                                                                          CaseNo. 4:11cr00209-17JM
                                                                          USM No. 26552-009
                                                                           Kim Driggers
                                                                                                    Defendant's Attorney
THE DEFENDANT:
ri/ admitted guilt to violation of condition(s)          General, Standerd, Special        of the term of supervision.
D   was found in violation of condition(s)             - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                             Nature of Violation                                   Violation Ended
1 - General                        Failure to refrain from unlawful use of a controlled substance.              12/01/2015

2 - Standard (7)                   Failure to refrain from the use of any controlled substance.                 12/01/2015
3 - Special                        Failure to participate under the supervision of the probation                12/01/2015
                                   officer in a substance abuse treatment program.

       The defendant is sentenced as provided in pages 2 through _ _3 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1387                        02/11/2016

Defendant's Year of Birth:           1975

City and State of Defendant's Residence:                                                             Signature of Judge
Helena-West Helena, AR
                                                                           JAMES M. MOODY JR                              U.S. District Judge

                                                                                   "- \ { (,, ( / bNruno ond ·r;u, orJudgo


                                                                                                            Date
                   Case 4:11-cr-00209-JM                   Document 1067     Filed 02/16/16        Page 2 of 3
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet IA

                                                                                            Judgment-Page -=2-      of      3
DEFENDANT: GALVIN JAVASCO HENDERSON
CASE NUMBER: 4: 11 cr00209-17 JM

                                                      ADDITIONAL VIOLATIONS

                                                                                                                   Violation
Violation Number               Nature of Violation                                                                 Concluded
4 - Standard (2)               Failure to report to the probation officer.                                         08/01/2015

5 - Standard (6)               Failure to notify probation officer to any chance of residence or employment.       02/19/2015

6 - Standard (9)               Failure to refrain from associating with individuals engaged in criminal activity   11 /07/2014
                       Case 4:11-cr-00209-JM                     Document 1067          Filed 02/16/16     Page 3 of 3
  AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                  Judgment -   Page   -=3- of     3
  DEFENDANT: GALVIN JAVASCO HENDERSON
  CASE NUMBER: 4: 11 cr00209-17 JM


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
TWELVE (12) MONTHS




     rt The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate in non-residential substance abuse and mental health treatment.




     0      The defendant is remanded to the custody of the United States Marshal.

     0      The defendant shall surrender to the United States Marshal for this district:
            0     at   --------- 0                          a.m.      0    p.m.    on
            0     as notified by the United States Marshal.

     rt The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ri/ before 2 p.m. on _03_/_1_01_2_0_1_6_ _ _ _ __
            0     as notified by the United States Marshal.
            0     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                        to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                  By - - - - DEPUTY
                                                                                             - - - UNITED
                                                                                                    - - -STATES
                                                                                                          - - -MARSHAL
                                                                                                                -------
